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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                   )
                                           )   Case No. 1:08CR00024-035
                                           )
v.                                         )
                                           )         FINAL ORDER
                                           )
MARTIN AVERY HUGHES,                       )   By: James P. Jones
                                           )   United States District Judge
             Defendant.                    )

       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the government’s Motion to Dismiss is GRANTED, and the Motion

to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C.A. § 2255 is hereby

DENIED. Based upon the court’s finding that the defendant has not made the

requisite showing of denial of a substantial right, a certificate of appealability is

DENIED.

                                               ENTER: January 20, 2011

                                               /s/ JAMES P. JONES
                                               United States District Judge
